Case 1:17-cv-22929-JLK Document 8 Entered on FLSD Docket 02/05/2018 Page 1 of 2




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                           SO U TH ER N D ISTR ICT O F FLO RIDA
                                    M IA M ID IV ISIO N

                                 CA SE N O .17-cv-22929-11m G

 TERRY CA RRA W A Y, as Personal
 Representative ofthe Estate ofhis deceased
 son,K EN TR ILL CA RR AW A Y,

        Plaintiff,


 JUAN J.PEREZ,in hisofficialcapacity as
 Chief of Police of M iam i D ade County,
 Florida, G EOR GE EU G EN E, and M IA M I
 DA D E CO UN TY , Florida a political
 subdivision ofthe StateofFlorida,

        D efendant.
                                           /

            ORDER STAYING AND ADM INISTR ATIVELY CLO SING CASE

        THIS CAUSE com es before the Courtupon D efendants'M otion to Stay Proceedings

 and Administratively Close Case (DE //7).Therein,Defendants seek an Order staying a11
 proceedingsand administratively closing this case pending resolution of arelated state crim inél

 and adm inistrative investigation into the M ay 19,2016 shooting death of KentrillCarraw ay by

 D efendantM inm iD ade Police O fficer George Eugene.D efendants' chief argum ent for staying

 and adm inistratively closingthiscasependingtheresolution ofthatrelated crim inalinvestigation

 isthatthepartieswillbeseverelyprejudicedintheirquestfordiscoveryinthismatter,asFlorida
 Law prohibits from disclosure by the State reports,physical evidence from the scene, and

 documents created in response to this incident.This will substantially im pair both Plaintiffs'

 efforts to gather evidence to prove its case,and Defendants' ability to prepare its defense.

 Accordingly,Defendants asserta stay iswarranted.Plaintiffhas notresponded to thisM otion,

 andthetim efordoing so haspassed.
Case 1:17-cv-22929-JLK Document 8 Entered on FLSD Docket 02/05/2018 Page 2 of 2




        The Court finds that staying this case pending the resolution of the state crim inal and

 atlm inistrative proceedings related to the underlying incident in this case is in the interests of

 Justlce.

        'Fherefore,itis O RD ER ED ,AD JUD G ED ,and D EC RE ED as follow s:

        Defendants'Motion to Stay and Administratively ClosethisCase (DE #7)be,and the
        sam e hereby is G R AN TED .

    2. Thiscaseishereby STAYED pending furtherOrderofthe Court.

        The parties must file jointstatus reports every 60 days to advise the Court if the
        investigation conducted by the M iam i-D ade Police D epartm ent and State A ttom ey's

        Office has concluded. These reports must advise the Court of the status of the
        investigations being conducted, and upon com pletion of the investigations, w hether

        reopening the case and lifting the stay isw arranted.

    4. The Clerk of Court shall A DM IN ISTR ATIV ELY CL O SE this case,pending further

        Orderofthe Court.

        D O N E and O RD ER ED in cham bers at the Jam es Law rence K ing Federal Justice

 Building and U nited States Courthouse,M iam i,Florida,this5th day ofFebruary,2018.



                                             JA M ES LA W REN CE K IN G
                                             U N ITED STA TES D ISTR I        U D GE
 cc:    A Ilcounselof record
